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I-JNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEV/ YORK



                                       Plaintiff,
                                                                    17 Civ.

                         - against -
                                                                    NOTICE OF REMOVAL
SUMITOMO CORPORATION OF AMERICAS,


                                       Defendant.



             TO THE HONORABLE JUDGES OF'THE U.S. DISTRICT COURT
                   FOR THE SOUTHERI\{ DISTRICT OF'NEW YORK

       Pursuant    to 28 U.S.C. $$ 1331, 1441 and 1446, Defendant Sumitomo Corporation of

Americas, by its attorneys, Epstein Becker          &   Green, P.C., hereby removes the above-entitled

action pending in the New York State Supreme Court, County of New York, to this Court. In

support of this Notice of Removal, Defendant respectfully alleges as follows:

        1.        On or about December 6,2017, Plaintiff Herminia Canga commenced an action

entitled Herminia Canga v. Sumitomo Corporation of Americas,Index No. 16081312017, in the

New York State Supreme Court, New York County. A true and correct copy of the Summons

with Notice is annexed as Exhibit       A.   Plaintiff has not served the Summons with Notice upon

Defendant, nor has Plaintiff filed and served a Complaint. Defendant has not answered, moved

or otherwise responded to the Summons with Notice in the State Court action.

        2.        The Summons with Notice states that the nature of the action is: "Employment

discrimination and retaliation on the basis of Plaintifls race and/or national origin and retaliation

in violation of 42 U.S.C. $ 1981," It demands monetary damages in excess of $500,000.




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        3.         Pursuant to 28 U.S.C. $$ 1332,   l44l   and 1446,Defendant removes this action to

this Court on the basis of federal question jurisdiction, namely Plaintiffs assertion            that

Defendant violated a federal statute, 42 U.S.C. $ 1981.

        4.         In these circumstances, a Summons with Notice is removable as a matter of law'

See   Whitaker v. American Telecasting, Inc.,26l     F   .3d 196,203'05 (2d Cit.2001).

         5.        In   accordance with the requirements     of 28 U.S.C.   $ 1446(b), this Notice of

Removal is filed with this Court within 30 days after Defendant learned of the existence of the

Summons with Notice.

         6.        Written notice of the filing of this Notice of Removal will be provided to

Plaintifls attorney, Megan S. Goddard, Esq., Nesenoff & Miltenberg, LLP, 363 Seventh

Avenue, 5th Floor, New York, New York 10001. Defendants also will file a copy of this Notice

of Removal with the Clerk of the New York State Supreme Court, County of New York,                 as


required by 28 U.S.C. $ 1446(d).

         7,        By filing this Notice of Removal, Defendant does not waive any defenses that

might be available to it.

         \ryHEREFORE, Defendant respectfully removes the above-entitled action pending in

New York State Supreme Court, New York County, to this Court.

Dated: December 20, 2017
                                                EPSTEIN                 & GREEN, P.C.


                                         By
                                                      Asen
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